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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON


JUDITH SPRADLING
            Plaintiff,                                      Civil Action No. 6:20­cv­00843­AC
 vs.

                                                             ORDER GRANTING AWARD
COMMISSIONER of Social Security,                             OF EAJA FEES
           Defendant

                                             ORDER

       Based upon the Plaintiff’s Petition, the Equal Access to Justice Act (EAJA), 28 U.S.C. §

2412(d)(1)(A) the assignment of EAJA fees to Plaintiff’s attorney by Plaintiff, as discussed in

Astrue v Ratliff, 130 S. Ct. 2521U.S. (2010), and 28 U.S.C. § 1920 it is hereby ordered that

EAJA attorney’s fees of $4,360.61, if not subject to any offset allowed under the U.S.

Department of the Treasury’s Offset Program as discussed in Ratliff shall be paid to the Plaintiff,

and mailed to the attorney’s office.

       DATED this 27th day of October, 2021

                                       __________________________________________
                                                    John V. Acosta
                                            United States Magistrate Judge
Presented by:

s/Lisa R. Lang_____________
Lisa R. Porter Lang, OSB 025035
Attorney for Plaintiff
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